






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-05-00832-CR




									

								

Alex Garcia, Appellant



v.



The State of Texas, Appellee







FROM THE COUNTY COURT OF SAN SABA COUNTY


NO. 6,856, HONORABLE BYRON THEODOSIS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


									

Alex Garcia was placed on probation following a conviction for driving while his
license was suspended.  He perfected this appeal after his probation was revoked and a ten-day jail
sentence was imposed.  

Garcia, who has never claimed to be indigent, failed to request or pay for a reporter's
record and did not make the necessary arrangements for filing a brief.  See Tex. R. App. P. 37.3(c),
38.8(b)(4).  We have examined the clerk's record and find no matter that should be considered in
the interest of justice.


The order revoking probation is affirmed.



				__________________________________________

				Bob Pemberton, Justice

Before Chief Justice Law, Pemberton and Waldrop

Affirmed

Filed:   December 1, 2006

Do Not Publish


